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                                                                            U.S. DISTRICT COU
                                                                        EASTERN DISTRICT OF

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS FEB -6 2019
                                 BEAUMONT DIVISION
                                                                       BY
UNITED STATES OF AMERICA                    §                          DEPUTY
                                            §
VS.                                         §      NO. L19CR
                                            §         C on       - 1 > l.     - . .
ARNOLD TROY CRAYTON                         §
                                      INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:
                                         Count One
                                                   Violation: 18 U.S.C. § 751(a),
                                                   (Escape From Custody)

        On or about January 12, 2019, in Jefferson County, Texas, located in the Eastern

District of Texas, the defendant, Arnold Troy Crayton, did knowingly escape from the

custody of the Federal Bureau of Prisons, where the defendant was lawfiilly confined at

the direction of the Attorney General, by virtue of a judgment of conviction for a felony

offense by the United States District Court for the Northern District of Texas, in Cause

No. 4:13-CR-160-A(01), for violating 21 U.S.C. § 841.

        All in violation of 18 U.S.C. § 751(a).




                                           A TRUE BILL


                                                  ,ND JURY FOREPERSON

JOSEPH D. BROWN
United States Atto ey


Brit Featherston
Assistant U.S. Attorney
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          BEAUMONT DIVISION

U ITED STATES OF AMERICA §

VS. § NO. 1:19CR
                                       §
ARNOLD TROY CRAYTON §



                            NOTICE OF PENALTY

                                   Count One



  Violation: 18 U.S.C. § 751(a)

  Penalty: Imprisonment of not more than five (5)
                 years, a fine not to exceed $250,000, or both,
                      a term of supervised release of not more than
                      (3) years.

  Special Assessment: $100.00
